v law
M\l "'| Case 2: 04- V 02426- BBD- d|<v Document 46 Filed 06/20/05 Page 1 F|B |BY
Fu.ED st (V¢

D.`

'IN THE UNITED sTATEs DISTRICT coURT
05 JUN 29 AH 9. F§)R THE wEsTERN DISTRICT 0F TENNESSEE JUN 1 5 2005
misran DIVISION

sosee'r a ma metro '

g n F\obert R. Di Tro!lo, C!erk
U. S. DlST COURT

W. D. CF TN. MEMPH[S

_ ENT OPPORTUNITY
COMMISS

)
)
)
Plaintiff, )
) C
vs. ) Civil Action No. 04-242‘-DV
)
)
)
)
)

]ury Trial Demanded
A]A¥ THEATERS, LLC

d/b/a HOLLYWOOD 20 CINEMA,

Defendant.

 

DEFENDANT'$ REQUEST FOR PERMISSION To REPLY To PLAINTIFF's
REsPoNsE To DEPENDANT's MoTIoNs FoR PARTIAL sUMMARY
IUDGMENT

 

NOW comes Defendant Ajay Theaters, LLC (“Defendant”) by and through legal
counsel requesting permission to reply to Plaintiff’s Response to Defendant's Motions for
Partial Summary ]udgment. Defendant requests it have fifteen days or until ]une 28, 2005.

Defendant's reply Would address the arguments set forth in Plaintiff's
Memorandum and Would not merely be a repeat of the arguments set forth in Defendant’s
previous Memorandums in Support. A Certificate of Consultation is attached

Respectfully submitted, , 7

MMdéf/Z

 

 

§ MoTloN GRANTEB L F°l`*§ £/ /
_: .,_-» V erie B Spe
§ ~ ’ ACI<soN, sHIELDs, YEISER & HOLT
262 German Oak Drive
B NICE BOU|E DONALB ' Cordova, Tennessee 38018
U.S. D|STR|CT JUDGE (901) 754_3001

T.‘\':s document entered on the docks she tln co pl|ance
‘-.-vith Hu|e 58 and/or 79(a) FHCP on ZQ’§ 211

 

Case 2:04-cv-02426-BBD-dkv Document 46 Filed 06/20/05 Page 2 of 5 Page|D 31

CERTIFICATE OF SERVICE

 

l hereby certify that a copy of the foregoing has been served upon Carson L. Owen,
EEOC, 1407 Unio {_Avenue, Suite 621, Memphis, Tennes 104 Via U.S. Mail postage

/}rhes L. I-lolt, ]r. é/ / f

prepaid this [& day of ]une, 2005.

   
 

 

Case 2:O4-cv-O2426-BBD-dkv Document 46 Filed 06/20/05 Page 3 of 5 Page|D 32

FOR THE WESTERN DISTRICT OF TENNESSEE

WESTERN DIVISION
EQUAL EMPLOYMENT OPPORTUNITY )
COMMISSION, )
)
Plaintiff, )
)
vs. ) Civil Action No. 04-2424-DV
) ]ury Trial Demanded
A]AY THEATERS, LLC )
d/b/a HOLLYWOOD 20 CINEMA, )
)

Defendant.

 

CERTIFICATE OF CONSULTATION

 

I, Valerie B. Speakman, hereby certify that l spol<e With counsel for Plaintiff, Carson
Owen on ]une 14, 2005, about Defendant's Request for Permission to Reply to Plaintiff's
Response to Defendant’s Motions for Partial Summary ]udgment, and Plaintiff’s counsel
stated he opposed Defendant's request
Respectfully Subrnitted,

]ACKSON, SHIELDS, YEISER, HOLT &,
SPEAKMAN

 

 

VA ERIE B. SPEAKMAN
Attorney for Plaintiff

262 German Oal< Drive
Cordova, Tennessee 38018
901-754-8001 (Telephone)
901-754-8524 (Facsimile)

Case 2:O4-cv-O2426-BBD-dkv Document 46 Filed O6/20/O5 Page 4 of 5 Page|D 33

CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing has been served upon Carson L. Owen,
1407 Union Ave ue, Suite 621, Memphis, Tennessee 38104, via United States Mail, postage

Prepaid, this "¢day oflune 2005. .MM\

Valerie B. Speakman

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 46 in
case 2:04-CV-02426 Was distributed by faX, mail, or direct printing on
.lune 20, 2005 to the parties listed.

 

 

Carson L. OWen

EQUAL El\/lPLOYl\/IENT OPPORTUNITY COMMISSION
1407 Union Avenue

Ste. 621

1\/lemphis7 TN 38104

Adam 1\/1. Nahmias

JACKSON SH[ELDS YEISER HOLT SPEAKMAN & LUCAS
262 German Oak Dr.

1\/lemphis7 TN 38018

.l ames L. Holt

JACKSON SH[ELDS YEISER HOLT SPEAKMAN & LUCAS
262 German Oak Dr.

1\/lemphis7 TN 38018

Valerie B. Speakman
JACKSON SH[ELDS YEISER HOLT SPEAKMAN & LUCAS
262 German Oak Dr.
1\/lemphis7 TN 38018

Katharine W. Kores

EQUAL El\/lPLOYl\/IENT OPPORTUNITY COMMISSION
1407 Union Avenue

Ste. 621

1\/lemphis7 TN 38104

Faye A. Williams

EQUAL El\/lPLOYl\/IENT OPPORTUNITY COMMISSION
1407 Union Avenue

Ste. 621

1\/lemphis7 TN 38104

Honorable Bernice Donald
US DlSTRlCT COURT

